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    NEWS


    The Dirt: Dusty Button

                    Dance Spirit



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    Sure, Dusty Button looks like your typical pretty ballerina: She’s got a lovely face with big doe
    eyes, and she has a cute name to match. But when the South Carolina native slips into her
    pointe shoes and hits the stage, she proves she’s one to watch. Dusty has long, lean legs, sky-
    high extensions and a lithe yet super-strong upper body. Her pirouettes are solid, her jetés
    high. She’s a captivating, engaging performer.

    Currently a member of the Birmingham Royal Ballet, Dusty grew up attending both ballet and
    jazz competitions. She trained at the Jacqueline Kennedy Onassis School at American Ballet
    Theatre, and though she was offered a position in the ABT studio company (now called ABT II),
    she opted to go to London to train at the Royal Ballet School instead. She joined BRB in 2008.
    Read on for Dusty’s Dirt! —Alison Feller

    Performer you would drop everything to see:
    Sylvie Guille




    If you could work with any performer, past or present, who would it be?
    Gene Kelly

    Most-played song on your iPod:
    “Quiet” by Natalie Weiss

    Must-see TV show:
    I’m totally into “Gilmore Girls”—I have all the box sets.

    What’s your biggest guilty pleasure?
    Cleaning! I love it.

    If you weren’t a dancer, what would you be?
    A writer

    Who would play you in a movie?
    Kate Hudson



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    What’s the strangest thing in your dance bag?
    A golf ball

    In 2006, Dusty won the bronze medal at the Youth America Grand Prix. This year’s YAGP finals
    begin on March 17 in NYC.


     BIRMINGHAM ROYAL BALLET                    DUSTY BUTTON




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